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IN THE UNITED STATES DISTRICT COURT Hl£D BY - o'c_
FOR THE WESTERN DISTRICT OF TENNESSEE "'

WESTERN DIVISION 05 JUN 20 PH 3:. l,‘
MARILE BRISCO, ) ROBERT R Di mouo
) areas us ols‘r STCT.
Plaintifi`, ) w`D OF TN. MEMPH!S
)
v. ) NO. 04-2222 B/An
)
CCL CUSTOM MANUFACTURING, )
INC., )
)
Defendant. )

 

ORDER

 

Before the Court is Plaintiff’s Unopposed Motion to Extend Discovery Deadline and
Reset Trial filed on May 27, 2005. United States District Judge J. Daniel Breen referred this
matter to the Magistrate Judge for determination and to conduct a scheduling conference

It is therefore ORDERED that the parties shall appear for a scheduling conference to be
held before United States Magistrate J'udge S. Thomas Anderson on THURSDAY, JUNE 30,
2005 at 11:15 A.M. in Courtroorn M-3, 9th Floor, Federal Building, Memphis, Tennessee.
Counsel shall confer and submit a proposed Scheduling Order to the undersigned’s chambers at

least 24 hours before the conference

 

 

IT IS SO ORDERED. 5
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<g. /A/)M.s ¢&».j
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE
Date: l jr 2005
Thfs document entered on the docket sheet ln compliance 1

with Rule 58 and/or 79(a) FRCP on

`/r

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02222 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

